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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF GEORGIA                               'i
                                                          Iw.
                                                            I o
                                                              S r
                            AUGUSTA DIVISION

                                            'k
JOHN TOMPKINS,
                                            k                                Ml jUL 21 A ll: I I
                                            k
      Plaintiff,
                                            k

                                            *            CV 120-186
                                                                                               A.
              V.
                                            *
                                            *
EMPYREAN SERVICES, INC.,

                                            k
      Defendant.
                                            *



                                     ORDER


                                                    \\ Third Joint Renewed Motion
      Before the Court is the Parties'

                                                                                          //
for   Court    Approval      of   FLSA   Settlement     and        Release   Agreement.

(Doc. 18.)     The Court previously approved attorney's fees and costs

in the amount of $6,100.00.              (See Doc. 17.)        The Parties now seek


an additional $400.00 for pro hac vice admission fees.                         (Doc. 18,

at 2.)   Although the Parties cite various cases where pro hac vice

admissions fees have been granted, none are binding in the Southern

District      of   Georgia.        Instead,      this   District       has    repeatedly

                     \\
determined that           [t]he pro hac vice fee is an expense of counsel.
                                                              t!
not the client, and is thus not recoverable.                        Cathey v. Sweeney,

No. CV 205-202, 2007 WL 1385657, at *1 (S.D. Ga. May 8, 2007); s^

also Holland v. Textron, Inc., No. CV105-023, 2008 WL 11401778, at

*1 (S.D. Ga. Dec. 31, 2008); Misener Marine Const. , Inc, v. Norfolk

Dredging Co., No. 404CV146, 2008 WL 5046174, at *10 (S.D. Ga. Nov.
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24,    2008),   aff^d,    594    F.3d   832      (11th   Cir.   2010);    Chishom     v.

Berryhill, No. CV 117-136, 2019 WL 1672430, at *1 (S.D. Ga. Mar.

26, 2019), report and recommendation adopted, 2019 WL 1653914 (S.D.

Ga. Apr. 17, 2019); Doyle v. Berryhill, No. CV 117-144, 2018 WL

6332848, at *1 (S.D. Ga. Nov. 6, 2018), report and recommendation

adopted, 2018 WL 6331692 (S.D. Ga. Dec. 4, 2018).                  Thus, yet again,

the Court DENIES the Parties motion.               The Court suggest the Parties

be mindful before filing their next motion.                     This case has been

settled      since   February    and    it   has   taken   entirely      too   long   to

resolve the issue of attorney's fees and costs.                   Given Plaintiff's


Counsels' vast experience with FLSA cases, this is unacceptable.

       The    Parties    SHALL    AMEND      their     settlement    agreement        and

release to reflect the adjusted attorney's fees and costs herein.

Within SEVEN (7) DAYS of the date of this Order, the Parties may

file    on   the     public   docket    a    revised     motion   for    approval      of'

settlement      agreement     with     an    amended     agreement   appended      that

addresses the issues discussed herein.

       ORDER ENTERED at Augusta, Georgia, this                                 of July,

2021.




                                                 J.
                                                        D^O^ALLTpftlEF JUDGE
                                                 UNITED^TATES DISTRICT COURT
                                                 SGUTTTERN district of GEORGIA




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